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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


JOHN DOE,

                         Petitioner,

                         v.                                         No. 17-cv-2069 (TSC)

GEN. JAMES N. MATTIS,
 in his official capacity as SECRETARY OF
 DEFENSE,

                         Respondent.


                                    PRELIMINARY INJUNCTION

           Upon consideration of Petitioner’s Motion for a Preliminary Injunction, ECF No. 81,

    and the entire record in this case, it is hereby ORDERED that Petitioner’s Motion for a

    Preliminary Injunction is hereby GRANTED, and that Respondent James N. Mattis (along

    with his successors in office, officers, agents, servants, employees, and anyone acting in

    concert with him) is, until further order of this Court, hereby enjoined from transferring

    Petitioner from U.S. custody.

         The court will issue a redacted public version of the Opinion and Order after consultation

with the parties.



Date: April 19, 2018


                                               Tanya S. Chutkan
                                               TANYA S. CHUTKAN
                                               United States District Judge         
 
